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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES--GENERAL


  Case No. CV 20-8008-FLA (JPRx)                 Date: April 5, 2023
  Title: MDR Hotels, LLC v. Dow Chem. Co. et al.
  ============================================================
  DOCKET ENTRY: Order Requiring Joint Statement
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  PRESENT:
                     HON. JEAN P. ROSENBLUTH, U.S. MAGISTRATE JUDGE
                             Bea Martinez                            n/a
                             Deputy Clerk                      Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF:                    ATTORNEYS PRESENT FOR DEFENDANTS:
        None present                                                 None present

  PROCEEDINGS: (IN CHAMBERS)

         The Court received a request from Defendants’ counsel to take the settlement
  conference, which is currently scheduled for April 17, 2023, off calendar. But given that
  Plaintiff has indicated that it wishes to go forward with the conference and that the
  District Judge has set a deadline of April 21 for the parties to engage in a settlement
  conference, the conference will remain on calendar and the parties’ settlement-
  conference statements remain due on April 10.

         The Court notes, however, that the parties’ summary-judgment motions are set to
  be heard before the District Judge on April 14. No later than 2 p.m. on April 15, the
  parties must submit a joint statement informing the Court of any rulings made at or other
  information arising from the April 14 hearing that might bear on the settlement
  negotiations or whether the conference should go forward.

        cc: Judge Aenlle-Rocha




  MINUTES FORM 11                                                                     bm
                                                            Initials of Deputy Clerk:________
  CIVIL-GEN
